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                       UNITED STATES DISTRICT COURT

                        DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH,       INC.,
     Plaintiff,


                 V.
                                                C.A.   No.   17-11008-MLW

CELLTRION HEALTHCARE CO.,
LTD., ET AL.,
         Defendants.




                                     ORDER



 WOLF,    D.J.

     AS Stated in court on June 13, 2018, it is hereby ORDERED
that the parties shall, by June 20, 2018, confer and report
concerning the status of this case.




                                    UNITED
                                    UNITED STATES
                                           S      DISTRICT JUDGE
